     Case 4:23-cv-00609-BJ Document 47 Filed 05/02/24             Page 1 of 1 PageID 2046



                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                 FORT WORTH DIVISION

CADENCE BANK, et al.,                             §
                                                  §
            Plaintiff,                            §
                                                  §
v.                                                §   CIVIL ACTION NO. 4:23-CV-00609-BJ
                                                  §
BRIDGELINK ENGINEERING, LLC, et al.,              §
                                                  §
           Defendant.                             §

                                   ORDER TO SHOW CAUSE

         On April 24, 2024, Defendants filed a motion for leave to file an amended response [doc.

45]. On April 25, 2024, the Court granted Defendants’ motion and ordered that “Defendants shall

file their Amended Response and Appendix on or before Monday, April 29, 2024.” (ECF 46). As

of the date of this order, Defendants have not complied with the Court’s above-referenced Order

requiring them to file their Amended Response and Appendix.

         Accordingly, it is ORDERED that the Defendants either: (1) file their Amended Response

and Appendix on or before Monday, May 6, 2024; or (2) show cause, in writing, no later than

May 6, 2024, as to why they have not complied with the order of this Court. Failure to comply

timely with this order may result in appropriate sanctions, including entry of dismissal or default

judgment without further notice.

         It is further ORDERED that Plaintiffs shall have fourteen days from the date Defendants’

Amended Response is filed to file their reply.

         SIGNED May 2, 2024.

                                             ___________________________________
                                             JEFFREY L. CURETON
                                             UNITED STATES MAGISTRATE JUDGE
